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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA



 HMV Indy I, LLC, a Delaware limited liability
                                       Case No.: 1:19-cv-1148-JMS-TAB
 company,
                             Plaintiff,
                                                              ORDER GRANTING JOINT
 v.                                                          MOTION TO STAY DEADLINES
                                                              AND VACATE TRIAL DATE
 HSB Specialty Insurance Company,
                                                            PENDING RESOLUTION OF THE
 a Connecticut company,
                                                            PARTIES’ CROSS-MOTIONS FOR
                             Defendant.                        SUMMARY JUDGMENT



         This matter came before the Court pursuant to the Joint Motion to Stay Deadlines and

 Vacate Trial Date Pending Resolution of the Parties’ Cross-Motions for Summary Judgment

 (“Joint Motion”) submitted by Plaintiff HMV Indy I, LLC (“HMV Indy”) and Defendant HSB

 Specialty Insurance Company (“HSB Insurance”). [Doc. No. 95.] The Court, having considered

 the Parties’ Joint Motion and all related filings and proceedings in this case, and being duly advised

 in the premises, hereby ORDERS as follows:

         1.      The parties’ Joint Motion is GRANTED [95].

         2.      All remaining deadlines in this matter are hereby STAYED pending the Court’s

 resolution of the parties’ cross-motions for summary judgment. [See Doc. Nos. 86 and 91.] This

 includes the deadlines for submitting the objections and disclosures set forth in Sections III.H and

 III.I of the Third Amended Case Management Plan, as well as all other pretrial disclosures. [See

 Doc. No. 70.] This also includes the deadline for the parties to complete depositions of the

 disclosed expert witnesses.

         3.      The Court’s October 9, 2020 Order Resetting Trial and Final Pretrial Conference is

 hereby VACATED. [Doc. No. 76.]



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         4.      Upon this Court’s issuance of its order on the parties’ pending cross-motions for

 summary judgment, this Court will set this matter for a status conference. Based on the issues

 addressed at that status conference, the Court will set new deadlines for the parties to complete

 any desired expert witness depositions, Daubert motion practice and to submit their pretrial

 disclosures. The Court will also set a new trial date at that time.

                                                    BY THE COURT:




          Date: 4/30/2021




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